 Case 5:20-cv-02332-JWH-KK Document 41-6 Filed 04/09/21 Page 1 of 4 Page ID #:476


  From: Rajan O. Dhungana rajan@saharalegal.com
Subject: RE: Diaz v. Heredia, et al., Case No. 5:20-cv-02332; service
   Date: December 2, 2020 at 11:13 AM
     To: Alex Safyan asafyan@vgcllp.com
    Cc: Jason Moy jmoy@fedpractice.com, Eric Montalvo emontalvo@fedpractice.com, James Greeley jgreeley@vgcllp.com,
         Diyari Vazquez dvazquez@vgcllp.com


       Hello Mr. Safyan,

       Please see attached.



       Rajan O. Dhungana | Attorney
       Sahara Legal Group

       From: Alex Safyan <asafyan@vgcllp.com>
       Sent: Monday, November 30, 2020 2:35 PM
       To: Rajan O. Dhungana <rajan@saharalegal.com>
       Cc: Jason Moy <jmoy@fedpractice.com>; Eric Montalvo <emontalvo@fedpractice.com>;
       James Greeley <jgreeley@vgcllp.com>; Diyari Vazquez <dvazquez@vgcllp.com>
       Subject: Re: Diaz v. Heredia, et al., Case No. 5:20-cv-02332; service

       Mr. Dhungana,

       I hope you had a nice Thanksgiving holiday. I’m following up on the below.

       Regards,
       Alex Safyan

       From: Alex Safyan <asafyan@vgcllp.com>
       Date: Wednesday, November 18, 2020 at 2:03 PM
       To: "Rajan O. Dhungana" <rajan@saharalegal.com>
       Cc: Jason Moy <jmoy@fedpractice.com>, Eric Montalvo
       <emontalvo@fedpractice.com>, James Greeley <jgreeley@vgcllp.com>, Diyari
       Vazquez <dvazquez@vgcllp.com>
       Subject: Re: Diaz v. Heredia, et al., Case No. 5:20-cv-02332; service

       Thank you, Mr. Dhungana. Please find the service papers and executed form attached
       for your signature.

       Regards,
       Alex Safyan

       From: "Rajan O. Dhungana" <rajan@saharalegal.com>
       Date: Wednesday, November 18, 2020 at 8:54 AM
       To: Alex Safyan <asafyan@vgcllp.com>
       Cc: Jason Moy <jmoy@fedpractice.com>, Eric Montalvo
       <emontalvo@fedpractice.com>
Case 5:20-cv-02332-JWH-KK Document 41-6 Filed 04/09/21 Page 2 of 4 Page ID #:477

   <emontalvo@fedpractice.com>
   Subject: RE: Diaz v. Heredia, et al., Case No. 5:20-cv-02332; service

   Hello Mr. Safyan,

   Please be advised that I am local counsel for this matter. I have CC’ed primary counsels
   Eric Montalvo, and Jason Moy, of the Federal Practice Group in Washington DC.

   I am happy to accept service on the client’s behalf, via email or postal mail.
   rajan@saharalegal.com

   Rajan O. Dhungana
   Sahara Legal Group
   7320 S Rainbow Blvd, STE 102-360
   Las Vegas, Nevada 89139



   Rajan O. Dhungana | Attorney
   Sahara Legal Group
   Los Angeles | Las Vegas | Reno | Boulder/Denver
   Rajan@SaharaLegal.com

   From: Alex Safyan <asafyan@vgcllp.com>
   Sent: Monday, November 16, 2020 4:09 PM
   To: Rajan O. Dhungana <rajan@saharalegal.com>
   Cc: James Greeley <jgreeley@vgcllp.com>; Diyari Vazquez <dvazquez@vgcllp.com>
   Subject: Diaz v. Heredia, et al., Case No. 5:20-cv-02332; service

   Mr. Dhungana,

   As you know, we are counsel to Joseph Diaz, Jr. in the above-referenced matter. We
   understand that you filed a notice of removal of the complaint we filed in San Bernardino
   County Superior Court to the U.S. District Court for the Central District of California. You
   did so prior to us serving the summons and complaint on your client, Mr. Heredia. While
   this is somewhat unorthodox procedurally, it is also odd as a practical matter insofar as
   you already have a copy of the service papers (which you filed with your notice of
   removal) before your client formally received them. Accordingly, though this is a bit of a
   formality, we write to ask whether you will accept service of the summons and complaint
   on your client’s behalf. As a member of the California State Bar (though your office is in
   Nevada), I trust you are familiar with the rules governing acceptance of service by
   counsel who has appeared on behalf of a party in litigation.

   Upon confirmation, I will send you an executed Form CV-40 for your review and
   signature.

   Regards,
   Alex Safyan


   Alexander R. Safyan | Litigation Partner
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   Alexander R. Safyan | Litigation Partner




   t: 424.256.8296 | www.vgcllp.com

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